          Case 4:17-cr-06014-MKD            ECF No. 131                 filed 08/10/17              PageID.466 Page 1 of 1
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(3/15)


                            UNITED STATES DISTRICT COURT
                                                                     for
                                            Eastern District of Washington


U.S.A. vs.                Yniguez, Jerardo Tapia                                     Docket No.             0980 4:17CR06014-004


                               Petition for Action on Conditions of Pretrial Release

        COMES NOW Daniel M. Manning, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Jerardo Tapia Yniguez, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers sitting in the court at Spokane, Washington, on the 8th day of June, 2017 under the
following condition:

Condition #18: Refrain from any use of alcohol.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                   (If short insert here; if lengthy write on separate sheet and attach.)
Violation #1: Admitting to consuming alcohol on or about June 19, 2017.

                   PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                                        I declare under the penalty of perjury
                                                                                        that the foregoing is true and correct.
                                                                                        Executed on:        August 10, 2017
                                                                            by          s/Daniel M. Manning
                                                                                        Daniel M. Manning
                                                                                        U.S. Pretrial Services Officer


THE COURT ORDERS
[ X] No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other


                                                                                           Signature of Judicial Officer

                                                                                             August 10, 2017
                                                                                           Date
